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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



PAUL & JENNIFER DOUGALL                     :       Case No. 5:17-cv-1664

              Plaintiffs                    :       Judge Lioi

       v.                                   :       Magistrate Judge Burke

COPLEY-FAIRLAWN CITY                        :
SCHOOL   DISTRICT BOARD OF
EDUCATION, ET AL                            :

              Defendants                    :

                                          ANSWER

       Defendant the Ohio Department of Education (“ODE”) responds to Plaintiffs’

Complaint, Doc. No. 1, as follows:

                                         First Defense
1.     ODE denies, for lack of knowledge, the matters set out in paragraphs 1 through 3 of

       Plaintiffs’ Complaint.

2.     ODE admits the matters set out in paragraph 4 of Plaintiffs’ Complaint.

3.     ODE denies, for lack of knowledge, the matters set out in paragraphs 5 through 9 of

       Plaintiffs’ Complaint.

4.     ODE denies, for lack of knowledge, the matters set out in paragraphs 10 through 16 of

       Plaintiffs’ Complaint.

5.     ODE admits the matters set out in paragraph 17 of Plaintiffs’ Complaint.

6.     ODE Denies, for lack of knowledge, the matters set out in paragraph 18 of Plaintiffs’

       Complaint


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7.     ODE denies, for lack of knowledge, the matters set out in paragraphs 19 through 174 of

       Plaintiffs’ Complaint.

8.     ODE admits the matters set out in paragraph 175 of Plaintiffs’ Complaint.

9.     ODE denies, for lack of knowledge, the matters set out in paragraphs 176 and 177 of

       Plaintiffs’ Complaint.

10.    ODE admits the matters set out in paragraph 178 of Plaintiffs’ Complaint.

11.    ODE Denies, the matters set out in paragraph 179 of Plaintiffs’ Complaint.

12.    ODE admits the matters set out in paragraph 180 of Plaintiffs’ Complaint.

13.    ODE denies, for lack of knowledge, the matters set out in paragraphs 181 and 182.

14.    ODE admits the matters set out in paragraphs 183 and 184 of Plaintiffs’ Complaint.

15.    ODE Denies, for lack of knowledge, the matters set out in paragraphs 185 through189 of

       Plaintiffs’ Complaint

16.    ODE states that the matters set out in paragraphs 190 through 252 are legal conclusions

       which need not be admitted nor denied.

17.    ODE denies, for lack of knowledge, the matters set out in paragraphs 253 through 298

       Plaintiffs’ Complaint.

18.    ODE denies all matters set forth in Plaintiffs’ Complaint not expressly addressed above.

                                     Affirmative Defenses

19.    Plaintiffs lack standing to press their claims against ODE.

20.    The Court may lack subject matter jurisdiction over ODE.

21.    Plaintiffs have failed to the exhaust administrative remedies.

22.    Plaintiffs have failed to state a claim upon which relief can be granted against ODE.



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23.    ODE is protected by Eleventh Amendment immunity from Plaintiffs’ claims under Ohio

       law.

24.    ODE reserves the right to assert additional affirmative defenses upon appropriate notice

       to the Court and the Parties.



WHEREFORE, ODE prays that:

       A. Plaintiffs’ claims against it be dismissed with prejudice and at Plaintiffs’ cost; and

       B. It be granted all other relief that is appropriate.

                                       Respectfully submitted,

                                       MICHAEL DEWINE (0009181)
                                       Ohio Attorney General
                                       /s/ Todd R. Marti
                                       TODD R. MARTI (0019280)
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                                       Counsel for the Ohio Department of Education.

                                       Certificate of Service
       The undersigned hereby certifies that a copy of the forgoing was served upon all counsel of

record via the Court’s ECF system this 6th day of November, 2017.

                                       /s/ Todd R. Marti
                                       TODD R. MARTI (0019280)




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